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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Benjamin George,                          )
                                          )          Case No.       20-cv-06911
                     Plaintiff,           )
                                          )          Hon. Judge Blakey
v.                                        )
                                          )          Hon. Magistrate Judge Jantz
City of Chicago, James Gardiner,          )
Charles Sikanich, Chicago Police Officers )
Solomon Ing, Peter Palka, Daniel Smith, )
Bilos, Joseph Ferrara, Sergio Corona,     )
Ortiz, and Unknown Chicago Police         )
Officers,                                 )
                                          )
                     Defendants.          )          JURY TRIAL DEMANDED

     DEFENDANTS GARDINER AND SIKANICH’S RESPONSE TO PLAINTIFF’S
                        MOTION TO COMPEL

       NOW COME the Defendants James Gardiner and Charles Sikanich, by and through their

attorney Thomas D. Carroll of Thomas R. Raines Attorney at Law, LLC and for their Response

to Plaintiff’s Motion to Compel discovery responses state as follows:

                                       INTRODUCTION

       Defendants Gardiner and Sikanich (the “Defendants”) do not dispute the basic timeline of

events set forth in Plaintiff’s Motion to Compel, but object to some of the characterizations and

insinuations contained withing the Motion’s “Introduction and Factual Background.” More

importantly, while Defendants are willing to supplement their responses as discussed in the

Motion and considering the Rule 37.2 conference between Plaintiff’s and Defendants’ counsels,

there are a few categories of interrogatories and requested documents which fail the basic test of

relevance to the matter at hand, as required for an appropriate discovery request under Fed. R.




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Civ. P. rule 33 and, in particular, rule 34. For the specified requests discussed below, Defendants

request that the Motion be denied.

                                   FACTUAL BACKGROUND

        Defendants do not contest the basic timeline of events set forth in the Motion, but object

to several of the insinuations and attempts to imply bad faith on their part or the part of their

counsel set forth in the Motion’s “Introduction and Factual Background.”

        To begin with, the insinuation on page 3 of the Motion that Defendant’s counsel was

somehow blocking or otherwise causing Plaintiff’s counsel to be unable to call his office on the

morning of December 22, 2022 is absurd. Defendant’s counsel works in an office with several

other people and does not usually directly answer calls to the main line. Plaintiff’s counsel

claims to have encountered a busy signal when he tried calling on two occasions, but to have

gotten through on the third occasion, when he first dialed *67 “on a hunch.” The obvious

insinuation is that Defendant’s counsel somehow blocked calls to his office.

        If there is some technology by which a telephone customer can ensure that a particular

number cannot get through to a landline before the call is even connected, causing a busy signal,

Defendant’s counsel is completely unaware of it. As hard as it may be to imagine in a world of

on-demand communications, what very likely happened when Plaintiff’s counsel encountered a

busy signal is that the office’s main and secondary lines were both in use – i.e., “busy.” A

possible alternative explanation is that there was some sort of temporary problem with the phone

lines. Defendant’s counsel regrets the spilling of ink on such trivialities, but such trivialities are

not proper matters for a Motion before the Court.

        Second, and more consequentially, neither Gardiner nor Sikanich has ever suggested that

they would not attend a noticed deposition, nor refused to provide available dates. This matter



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came up during the Parties Rule 37.2 conferral, and Defendant’s counsel offered to provide any

dates that wouldn’t work for his clients, but it is ultimately incumbent on a party seeking a

deposition to notice up a deposition before crying “foul.”

       Plaintiff’s summary of facts is larded with suggestions that Defendants have been

intentionally dilatory in responding to discovery. In fact, all of the parties have afforded one

another time and made efforts at comity to get through the fact discovery phase of this litigation,

including Defendants and their counsel. Numerous parties, including the Plaintiff, have

supplemented discovery well past the original dates for disclosure, without anybody calling the

conduct evasive or dilatory. Most recently, in light of this Motion, Defendant’s attorney has had

to deal with some personal matters, the serious illness of a close family member followed by a

personal illness of frustrating endurance, which have hindered the speed of his responses to the

current dispute. To the extent anybody’s conduct in this matter has been dilatory, the blame lies

squarely on Defendant’s attorney, and he will accept whatever consequences come from that.

                                THE CONTESTED REQUESTS

                                           Interrogatories

       1. Interrogatories No. 4 to Gardiner and Sikanich were addressed when the parties met

           and conferred in December, and Defendants agree to supplement their respective

           responses.

       2. Interrogatory No. 7 to Gardiner and Sikanich seeks information about their history of

           arrests, which is irrelevant to the matters at issue in this case, which concern their

           conduct on a particular day, for which neither was arrested. The request for

           information that may have been expunged or sealed is particularly intrusive and

           lacking in relevancy. Not only would information about the Defendants’ arrest



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      history(ies) absent a conviction for a felony or some crime of dishonesty be

      inadmissible at trial, per Fed. R. Evid. 609, but the request is an unreasonable

      intrusion on the privacy of each Defendant in a civil matter, where their conduct on

      the day in question is all that is at issue. Defendants’ primary objection set forth in the

      Answers was that the information sought is not “germane” (i.e., relevant) to any issue

      in the case.

   3. Interrogatory No 12. to Gardiner and Sikanich is impermissibly overbroad and

      virtually impossible to answer. Defendants are probably not capable of relating every

      non-privileged conversation they may have had between the time of Benjamin

      George’s arrest and the present regarding his arrest or the instant lawsuit. Further,

      Plaintiff clearly requests documents pertaining to the request in subsections (D) and

      (E) of the request, making the assertion that Plaintiff had not asked for written

      communications quite strange. Based on the Motion, it sounds as if Plaintiff wishes to

      know things like whether the Defendants discussed the day’s events with any Ward

      office employees on the day in question, which is plainly a much narrower and more

      appropriate inquiry than a request asking them to recount every conversation or

      communication they’ve had on the subject of this lawsuit or its subject matter over

      nearly 4 years.

   4. Interrogatory No. 23 to Gardiner and Sikanich, has been narrowed in scope after the

      parties’ Rule 37.2 conference, and Defendants agree to supplement their respective

      responses.

   5. Interrogatory No. 24 to Gardiner is completely irrelevant to the subject matter of this

      lawsuit, which does not involve social media, any party’s use of social media, or any



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      actions which are alleged to have taken place on social media or as a result of

      communications which occurred on social media. Plaintiff’s reference to Fed. R.

      Evid. 404(b) is curious given that it generally serves to shield witnesses from the

      introduction of evidence about their crimes, wrongs or acts, and given that what is

      requested in Interrogatory 24 does not even implicate a wrongful act. It is not at all

      clear why monitoring one’s critics on social media would be deemed a crime or

      wrong in keeping with that rule.

                                    Requests for Production

   1. RFP 2 to Gardiner and Sikanich was discussed during the Rule 37.2 conference and

      Defendants agree to supplement their response to the extent any such documents

      exist.

   2. RFP 3 to Gardiner and Sikanich was discussed during the Rule 37.2 conference and

      Defendants agree to supplement their response to the extent any such documents

      exist.

   3. RFP 5 to Gardiner and Sikanich is plainly overbroad and seeks a great deal of

      information that is not relevant to the instant lawsuit. Defendant Gardiner stated that

      despite the objection, he is not withholding any such documentation. The example

      which Plaintiff relies upon in Sikanich’s case, the pendency of a criminal case against

      him for the alleged impermissible sale of a weapon while engaged in official

      employment is both unadjudicated, meaning evidence concerning it would be

      inadmissible at trial barring a conviction, and has nothing to do with the subject

      matter of this lawsuit.




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   4. RFP 7 to Gardiner and Sikanich was discussed during the Rule 37.2 conference.

      Defendant’s counsel stated that he would inquire again whether any such

      communications exist. Defendant’s do not object to the additional steps requested in

      the Motion pertaining to this request.

   5. RFPs 8 and 10 to the Defendants are related to matters well outside the scope of this

      lawsuit, and therefore seek information which is irrelevant. Plaintiff does not bother

      to specify why he thinks any such “investigation,” which, by its nature, is both

      sensitive and unconcluded, pertains to allegations of official misconduct of the kind

      which is alleged in the instant lawsuit. If the request sought information about any

      such investigations pertaining to the alleged incidents set forth in the instant lawsuit,

      the scope might be appropriate. As is, this request appears to be a fishing expedition.

   6. RFP 9 is inappropriate for the same reasons RFP 8 and 10 are inappropriate. The FBI

      is not involved in investigating this civil matter, and evidence concerning the scope of

      any investigations on their part would be both incredibly sensitive, especially in

      Sikanich’s case where there is a criminal matter pending, and irrelevant to the subject

      matter of this lawsuit.

   7. RFPs 14-18 are appropriate requests, but it is not clear why the parties should have to

      participate in a hearing to determine whether they are actually in possession of such

      communications. They have done nothing to warrant such undue suspicion.

      Defendant’s counsel is willing to further inquire and confirm that the production is

      complete, but parties are not required to electronically communicate about sensitive

      matters and many people do not.




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                                          ARGUMENT

       1. Plaintiff’s Requests to Which Defendants Maintain an Objection are Overbroad and
          Irrelevant to the Instant Lawsuit.

       Defendants recognize that the scope of federal discovery is broad, but it is not unlimited,

and the Plaintiff’s arguments in favor of compelled production are extremely vague in their

content and their insinuations of a connection to the instant lawsuit. See Fed. R. Civ. P 26(b)(1).

“A party seeking such discovery should point to something that demonstrates that the requested

documents are both relevant and proportional to the needs of the case, as Rule 26 dictates.”

Allstate Ins. Co. v. Electrolux Home Prod., Inc., No. 16-cv-4161, 2017 WL 5478297, at *4 (N.D.

Ill. Nov. 15, 2017).

       Document requests and interrogatories need not seek admissible evidence alone, but their

relevance to the case at hand should be clear from their context. See Trainauskus v. Jacob, No.

21-cv-04311, 2023 WL 121818 (January 6, 2023). It is not at all clear why information about

Defendants’ social media activities or arrest history would be relevant to the instant matter, given

that the instant matter concerns the Defendants’ alleged conduct on a single day, pertaining to a

connected sequence of events and a single affected individual – the Plaintiff. Plaintiff’s Motion

sheds no real light on the subject, drawing no throughline between the alleged conduct and the

categories of information he seeks. The requests for documents pertaining to unrelated FBI

investigations, Democratic Party investigations, City of Chicago Inspector General investigations

and, in one case, Defendant Sikanich’s involvement in a pending criminal matter involving

alleged firearms infractions, are incredibly invasive, and have no obvious connection to this

lawsuit.

       Defendants do not deny that such categories of information might be relevant in some

lawsuits. But here, where the alleged conduct at issue is very specific and of a specific character,

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requests that seek to discover information about every instance in which the Defendants were

arrested or investigated, even absent proof of guilt or a determination of wrongdoing, on the

general premise that it might relate to the case, amount to a fishing expedition.

       Magistrate Judge Weisman’s recent Opinion and Order in Trainauskus is instructive on

the question of relevancy in the context of written discovery requests. For convenience, a copy is

attached as Exhibit 1. Judge Weisman denied the plaintiff’s motion to compel relating to four

requests. The first was a broad request for information about the defendants’ history of

suspensions from their employment as prison guards. The Judge denied the motion to compel an

answer while observing that such a broad request could pertain to suspensions having no obvious

relationship to the alleged wrongdoing in the case at hand, and therefore sought information that

was irrelevant. See Id. at *2. Likewise, in this case, there is no substantial connection between

the acts alleged in the Plaintiff’s Complaint and the social media activities, arrest records, or the

subjects of any inspector general, FBI or Democratic Party inquiries concerning the Defendants.

       Judge Weisman’s denial of the second request in Trainauskus is closely on-point to the

instant controversy. The plaintiff requested detailed information about each defendant’s arrest

histories, including one defendant who, like Sikanich, was facing “serious criminal charges” at

the time of the Order. The motion to compel an answer was denied on the basis of overbreadth,

because it was not apparent what the arrest histories would have to do with the allegations in the

civil case at hand. See Id. at *3. (“While Defendant Jacob appears to be facing serious criminal

charges, it does not appear that those alleged crimes are related to Plaintiff's claims. Nor is it

clear whether any other defendant has a criminal history or, more importantly, how that relates to

Plaintiff's claims.”) The same logic could just as easily be applied to inspector general




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investigations, FBI investigations, or political party investigations, which have no apparent or

alleged relationship to the matters at hand.

       Judge Weisman’s denial of the motion to compel on the fourth request is also instructive.

The fourth request sought a wide array of potential reports, complaints, investigations,

disciplinary actions or arrest incidents involving or pertaining to the defendant, including

information pertaining to his pending criminal charges in an unrelated matter. See Id. at *4.

(“[A]s with the prior requests, considering the request as written, there is no identified link

between Defendant Jacob's alleged wrongdoing (both with respect to the pending criminal

charges against Jacob and any other unknown discipline/offenses attributable to Jacob) and

Plaintiff's claims.”). The analysis is virtually the same as it pertains to Defendants’ objections to

the disputed requests for documents and interrogatory answers. Plaintiff seemingly wants to

compel discovery of virtually any alleged or investigated act of wrongdoing in which either

Defendant has ever been involved, including matters having no apparent nexus to the allegations

of the Complaint, on the premise that they might turn something up.

       It is not remotely relevant if the Defendants were (hypothetically) investigated for matters

pertaining to their performance of duties as city employees, outside the actions alleged in this

lawsuit or some similar circumstance, or were arrested in the 1990s for shoplifting. Discovery is

broad by design, but it must seek information that is relevant to the allegations of the Complaint.

It is not an invitation to dive into the entire life stories, good and bad, of anyone alleged to have

committed acts giving rise to legal liability. Defendants respectfully request that the Motion be

denied as to Interrogatories 7, 12 and 24, and document requests 5, 8, 9 and 10, because they are

overbroad and seek information that is not relevant to the allegations of the complaint or this

lawsuit in general.



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         2. Sanctions Under Rule 37(a)(5)(A) are Unwarranted Because the Defendants’
            Nondisclosure of Information and Objections were Substantially Justified.

         Though Defendants concede that their production of documents about which some

agreement was reached in December has been delayed due to circumstances involving their

attorney, the objections set forth in their initial answers were well-founded, the attorneys

participated in a Rule 37.2 conference in order to narrow the scope of the dispute and Defendants

do not contest the production of any matters on which they reached agreement, yet there remain

several good-faith disputes over the objections, addressed above. Sanctions are not warranted

under the circumstances. Further, the Defendants should not be made to pay the costs of their

opponent for delays that were attributable to the health condition of their lawyer or his family

members, and there would have been unresolved disputes, presumably prompting a motion to

compel from the Plaintiff, even if the resolved requests had been responded to by the time of the

Motion’s filing.


         WHEREFORE, the Defendants, James Gardiner and Charles Sikanich pray that the

Court:

         (a) deny the Motion to Compel as it relates to Interrogatories 7, 12 and 24, and document

            requests 5, 8, 9 and 10, and

         (b) Deny all requested relief by Plaintiff under Fed. R. Civ. P. 37(a)(5)(A), and

         (c) for any additional relief that the Court deems just.




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                                                     Respectfully Submitted,
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Dated: January 30, 2023




                                CERTIFICATE OF SERVICE

The undersigned, an attorney of record for the Defendants, hereby certifies that on January 30,

2023, he served a copy of the Defendants Gardiner and Sikanich’s Response to Plaintiff’s

Motion to Compel on all counsel of record by electronic means via the Northern District of

Illinois’s Electronic Case Filing (ECF) system, which notifies all counsels and parties of record.



                                                     /s/ Thomas D. Carroll
                                                     Thomas D. Carroll




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